   Case: 2:21-cv-03898-KAJ Doc #: 22 Filed: 07/08/22 Page: 1 of 2 PAGEID #: 271




                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 GREGORY SMITH                                     Case No. 2:21-cv-03898

        Plaintiff,                                 JUDGE SARAH D. MORRISON

 vs.                                               MAGISTRATE JUDGE KIMBERLY A.
                                                   JOLSON
 CITY OF NELSONVILLE, OHIO, et al.,
                                                   PARTIES' FOURTH STATUS REPORT
        Defendants.

       Pursuant to this Court's October 6, 2021 Order, now come the parties, by and through

counsel, and respectfully submit their Fourth Status Report updating the Court on Plaintiffs civil

action and administrative appeal that are currently pending against Defendants in the Athens

County Court of Common Pleas. The Court has yet to rule on Defendants Motion for Summary

Judgment in the civil action, Case No. 21CI0072, that was filed on March 16, 2022. The

Defendants have appealed the trial court's judgment in from Case No. 21C10174. Further, Plaintiff

and Defendants have begun settlement negotiations for all claims.


Respectfully submitted,

/s/ Kent Hushion                                     /s/ Daniel Klos (per email authority on
Patrick Kasson (0055570)                             7/7/2022)
Kent Hushion (0099797)                               Daniel Klos
Reminger Co., L.P.A.                                 4591 Indianola Ave.
200 Civic Center Drive, Suite 800                    Columbus, OH 43214
Columbus, Ohio 43215                                 (614) 261-9581; FAX: (614) 262-5732
(614) 232-2634; FAX: (614) 232-2410                  klosdhesq@aol.com
okassonAreminger.corn
khushion@reminger.corn
Counsel for Defendants                               Attorney for Plaintiff
   Case: 2:21-cv-03898-KAJ Doc #: 22 Filed: 07/08/22 Page: 2 of 2 PAGEID #: 272




                                CERTIFICATE OF SERVICE

       I hereby certify a true and accurate copy of the foregoing document was served via the
Court's electronic filing system and/or regular U.S. mail electronic mail on this 8th day of July
2022 upon all parties of record:

                                                    /s/ Kent Hushion
                                                    Kent Hushion (0099797)
